Case 2:05-cr-20210-SH|\/| Document 15 Filed 06/30/05 Page 1 of 2 Page|D 13

 

 

 

 

 

lN THE UNrrED sTATES DISTRICT COURT F' 1393 O}%;
FOR THE WESTERN DISTRICT OF 'I`ENNESSEE .
UNITED STATES OF AMERICA
v.
DARRYL ROSS 05cr20210-B
a/k/a Daryl Ross
ORDER ON ARRAIGNMENT

This cause came to be heard on é‘ &¢ 4 g § §¢( , Z£H the United States Attorney
for this district appeared on behalf of the g vernrnent, an the defendant appeared in person and with
counsel:
NAME tug w who is Retajned!Appoime-d.

'____,

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extendedl

The defendant, who is not in custody, may stand on his resent bond.
e defendant, (not having/§ade bond) (being a gag;)risoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1 84), is remanded to the custody

of the U.S. Marshal.

UNITED STATES'MAGISTRATE ]UDGE

 

CHARGES - 18:922g
firearms

Attorney assigned to Case: G. Gilluly

Age: 3 ¢
-*ocument entered orr the docket ShS P
'§u!e 55 and/or 32(b) FRCrP OH

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20210 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

FPD

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Honorable Samuel Mays
US DISTRICT COURT

